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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                8:22CR51
                                            )
      vs.                                   )
                                            )
CHRISTOPHER EVANS,                          )                  ORDER
                                            )
                    Defendant.              )


       This matter is before the court on the Motion to Continue Trial [77]. Defendant is
in the process of resolving his state court matters. Counsel needs additional time to
conduct plea negotiations. Good cause being shown,

      IT IS ORDERED that the Motion to Continue Trial [77] is granted, as follows:

      1. The jury trial now set for July 17, 2023 is continued to September 18, 2023.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising
         as a result of the granting of this motion, that is, the time between today’s
         date and September 18, 2023, shall be deemed excludable time in any
         computation of time under the requirement of the Speedy Trial Act. Failure to
         grant a continuance would deny counsel the reasonable time necessary for
         effective preparation, taking into account the exercise of due diligence. 18
         U.S.C. § 3161(h)(7)(A) & (B)(iv).

      DATED: July 7, 2023.

                                         BY THE COURT:


                                         s/ Michael D. Nelson
                                         United States Magistrate Judge
